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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

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UNITED STATES OF AMERICA ; oe fO} 2 | 1)
ORDER oe
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CHESTER BROWN, 18 CR 818 (VB)
Defendant.
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Sentencing in the above matter is scheduled for December 16, 2020, at 3:00 p.m. The
Court expects to conduct this proceeding in person in the Courthouse.

Per the SDNY COVID-19 Courthouse Entry Program, anyone who appears at any SDNY
courthouse must complete a questionnaire and have his or her temperature taken. The
questionnaire is located on the Court’s website at: https://www.nysd.uscourts.gov/sites/default/
files/2020-09/SDNY%20COVID%20ENTRY%20QUESTIONNAIRE%20GUIDE%209-2-
2020.pdf. Completing the questionnaire online and ahead of time will save time and effort upon
entry. Only those individuals who meet the entry requirements established by the questionnaire
will be permitted entry. Please contact Chambers if you do not meet the requirements.

Defendant’s sentencing submission is due December 2, 2020, and the government’s
submission is due December 9, 2020.

Dated: October 21, 2020
White Plains, NY

SO ORDERED:

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Vincent L. Briccetti
United States District Judge

 

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